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                        UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEW MEXICO



                                                 Case No. 1:24-md-03119-MLG-LF
IN RE: SHALE OIL ANTITRUST
LITIGATION



This Document Relates to All Actions




                 DEFENDANTS’ REPLY MEMORANDUM OF LAW
               IN SUPPORT OF THEIR JOINT MOTION TO DISMISS
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                                 PRELIMINARY STATEMENT

         Plaintiffs’ opposition (ECF No. 156 (“Opp.”)) confirms that their complaint should be

dismissed for the multiple reasons set forth in defendants’ moving brief (ECF No. 129 (“Br.”)).1

         First, this Court should not countenance plaintiffs’ blatant disavowal of their own

allegations regarding OPEC’s central role in their complaint—and should dismiss this action for

lack of subject matter jurisdiction under the political question and act of state doctrines.

Plaintiffs make over 330 allegations regarding OPEC’s central, indispensable role in a world-

wide conspiracy, in which OPEC’s sovereign nation members were pleaded as “unnamed co-

conspirators.” (Compl. ¶ 85.) Plaintiffs allege that OPEC controls the global crude oil market,

has worked to stabilize worldwide oil prices, and “started a years-long campaign” to convince

U.S. shale oil producers to join its alleged cartel. (Id. ¶¶ 10-11, 93-96, 110.) The complaint

asserts that beginning in or around January 2021, defendants have “coordinat[ed] their output in

conjunction with each other and with OPEC.” (Id. ¶ 136 (emphasis added).) Remarkably,

despite the complaint’s singular focus on an alleged global conspiracy OPEC orchestrated,

plaintiffs now suggest that OPEC had no involvement in what they speciously label a “purely

domestic cartel” to restrict production “in the domestic shale markets.” (Opp. at 14-15.) The

Court should reject plaintiffs’ tactical mischaracterization of their own complaint and dismiss

this action for lack of subject matter jurisdiction.

         Second, plaintiffs’ opposition confirms that they fail to plead facts plausibly suggesting

that defendants conspired to increase prices by restricting shale oil production. Plaintiffs

concede that they plead no direct evidence of any such conspiracy. While plaintiffs purport to

have pleaded circumstantial evidence, their failure to allege that defendants engaged in parallel


1
    Defined terms used herein have the same meaning as in defendants’ moving brief.

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conduct is dispositive. Although the object of the alleged conspiracy was to restrict shale oil

production, the complaint alleges that six of the eight defendants did the exact opposite and

actually expanded their production—at vastly different rates—during the alleged conspiracy

period. (Compl. ¶ 160 table 1.) Pivoting, plaintiffs now posit the freshly-minted theory that the

parallel conduct they attack is defendants’ supposed failure to invest in new “drilling

opportunities” (Opp. at 3, 23), but the complaint pleads no facts supporting this new theory.

       Because plaintiffs fail to plead parallel conduct, their alleged “plus factors” are irrelevant

as a matter of law. In any event, those purported plus factors do not render a conspiracy more

plausible, but instead suggest alternative, non-conspiratorial reasons for defendants’ conduct—

and easily explain comments defendants’ executives allegedly independently made to investors

about the risks of increasing shale oil production. Those non-conspiratorial reasons for

cautionary statements include the COVID-19 pandemic that collapsed global oil markets, market

volatility following Russia’s invasion of Ukraine, and the threat of another OPEC price war.

Contrary to plaintiffs’ argument, controlling precedent directs this Court to consider non-

conspiratorial reasons for defendants’ allegedly parallel conduct—like independent responses to

common market stimuli—especially when they are pleaded on the face of the complaint.

       Third, plaintiffs’ opposition does not identify factual allegations establishing that they

have antitrust standing. Plaintiffs do not dispute that the complaint identifies no basis for

injunctive relief against ongoing misconduct, particularly given its allegations that two

defendants (Pioneer and Hess) are subject to acquisitions by major oil producers (Exxon Mobil

and Chevron) that have or will expand shale oil production. Because injunctive relief is the only

remedy plaintiffs seek under the Sherman Act, that claim should be dismissed for this reason

alone. Moreover, plaintiffs lack antitrust standing under AGC because they cannot trace any



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purported artificial price increase in the refined petroleum products that they purchased from

third-party retailers to any alleged reduction in defendants’ shale oil production—production

that, in any event, makes up a tiny fraction of the market. Plaintiffs argue that they need not

plead any such connection, but the case law they cite does not support their position.

        Finally, plaintiffs’ state law claims fail for the same reasons that their Sherman Act claim

fails, i.e., for lack of subject matter jurisdiction, failure to allege facts supporting a plausible

conspiracy, and lack of standing—as well as for additional state-specific reasons.

                                            ARGUMENT

I.      PLAINTIFFS CANNOT DISAVOW THEIR COMPLAINT TO
        AVOID THE POLITICAL QUESTION AND ACT OF STATE DOCTRINES

        Antitrust claims alleging price-fixing among domestic oil producers and OPEC member

states are not justiciable pursuant to the political question and act of state doctrines. (Br. at 10-

18); D’Augusta v. Am. Petroleum Inst., 117 F.4th 1094 (9th Cir. 2024), cert. denied, 604 U.S.

___ (Mar. 31, 2025); Spectrum Stores, Inc. v. Citgo Petroleum Corp., 632 F.3d 938 (5th Cir.

2011). Plaintiffs try to avoid both doctrines by recasting their claims as challenging only a

domestic conspiracy among eight independent U.S. producers wholly unconnected to OPEC’s

global efforts to restrict oil production worldwide. (Opp. at 4-15.) Plaintiffs’ own complaint

belies this argument.

        A.      Plaintiffs Allege That OPEC Initiated and Led a Global Conspiracy to
                Stabilize Worldwide Crude Oil Prices by Restricting Global Production

        Plaintiffs’ complaint alleges that OPEC, an “international cartel of large oil producing

nations” (Compl. ¶ 10), sought to retain its control over global oil prices by engaging in a “years-

long campaign” to coerce the eight shale oil producer defendants to join the OPEC cartel (id. ¶

110). Plaintiffs claim that “[b]eginning [i]n or around January 2021,” defendants have

“collectively agreed not to increase their U.S. shale oil production” and to “cooperat[e] and

                                                    3
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collud[e] with” OPEC to “coordinate their collective oil output.” (Id. ¶¶ 9-11, 139, 153, 172-73.)

According to the complaint, the sovereign OPEC members are “unnamed co-conspirators” in the

challenged conspiracy. (Id. ¶ 85.) The complaint pleads that OPEC initiated its relationship with

defendants (id. ¶ 133) and that OPEC spoke with defendants at the annual CERAWeek

conferences in Houston in 2017, 2018, and 2019 (id. ¶¶ 112-25, 132-35), in forums in Vienna

and Davos (id. ¶¶ 126-31), and into 2022 and 2023 (id. ¶ 152).

         Having pleaded a complaint focused principally on OPEC’s attempts to cajole defendants

to join OPEC’s efforts to stabilize global oil prices, plaintiffs cannot now disingenuously reframe

their allegations as challenging merely an agreement among eight U.S. shale oil producers to

limit U.S. shale oil production, wholly unconnected to OPEC and its efforts to reduce global oil

production. Nor can they avoid the political question and act of state doctrines by ignoring the

alleged acts of the sovereign OPEC members that their own complaint alleges. Any trial of

plaintiffs’ claims would necessarily include a judgment on the lawfulness of OPEC’s alleged

conduct—a judgment this Court lacks subject matter jurisdiction to render.

         To evaluate the applicability of the political question or act of state doctrine, the court

“must ‘analyze [the] claim as it would be tried.’” Spectrum Stores, 632 F.3d at 951 (citation

omitted). As in Spectrum Stores, a trial on plaintiffs’ claims here would require “an inquiry into

whether [defendants] entered into an agreement with OPEC member nations to fix prices.” Id.

The court in Spectrum Stores well explained the problem with such a trial:

         A pronouncement either way on the legality of other sovereigns’ actions falls
         within the realm of delicate foreign policy questions committed to the political
         branches. By adjudicating this case, the [court] would be reexamining critical
         foreign policy decisions, including the Executive Branch’s longstanding approach
         of managing relations with foreign oil-producing states through diplomacy rather
         than private litigation.

Id.


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       Plaintiffs’ assertion that the factfinder would only need to weigh evidence regarding

disputed facts involving defendants (Opp. at 5) is simply wrong. OPEC officials, according to

the complaint, are involved in the conspiracy at every step—from its purported initiation to its

final execution. As a result, and as the following chart shows, to answer the five questions that

plaintiffs themselves pose in their brief—not to mention several others the complaint raises—the

factfinder would need to examine and consider the import of the conduct and decisions of OPEC

and its sovereign members. Specifically, the factfinder would need to decide whether OPEC

entered into an agreement with defendants, what they agreed to do, where the alleged agreement

was effectuated, whether the scope was global and the conspiracy continues today (as the

complaint alleges), and how it was implemented. Plaintiffs cannot write the words “OPEC” and

“global” out of their complaint, as they attempt to do in their opposition.

        Plaintiffs’ Question           Purported Answer From                 Answer From
                                      Plaintiffs’ Opposition Brief       Plaintiffs’ Complaint
  1. Who entered the agreement?       Defendants, who are              OPEC and defendants
                                      domestic shale producers         (Compl. ¶¶ 10-11, 85,
                                                                       115, 121, 131, 136, 139,
                                                                       144-45, 153-55, 158, 172-
                                                                       73, 177, 187-88, 194, 198-
                                                                       99, 201-05)
  2. What did they agree to do?       Artificially restrict domestic   Stabilize global oil prices
                                      shale oil production             (id. ¶¶ 10-11, 85, 115,
                                                                       121, 131, 139, 144-45,
                                                                       152-55, 158, 172-73, 177,
                                                                       187-88, 194, 198-99, 201-
                                                                       02, 205)
  3. When was the agreement           At least 2021-2024               “2021: Defendants
     active?                                                           Actualize Their
                                                                       Agreement with OPEC”
                                                                       (id. at p. 45)
  4. Where was the agreement          U.S. shale fields                Worldwide (id. ¶¶ 10-11,
     effectuated?                                                      85, 115, 121, 131, 136,
                                                                       139, 144-45, 153-55, 158,
                                                                       172-73, 177, 187-88, 194,
                                                                       198-99, 201-05)

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  5. How was the agreement             Curtailing domestic               Curtailing global oil
     implemented?                      production                        production (id. ¶¶ 10-11,
                                                                         115, 121, 136, 139, 144-
                                                                         45, 152, 154-55, 158, 173,
                                                                         177, 187-88, 194, 198-99,
                                                                         201-02, 205)

       Additional questions on which a factfinder would need to weigh evidence include:

    Additional Questions                               Answer from Complaint

  6. Who initiated the            OPEC (Compl. ¶¶ 110, 133)
  agreement?
  7. Why was the agreement        To reduce oil production worldwide in an effort to stabilize
  initiated?                      global oil prices (id. ¶¶ 10-11, 85, 115, 121, 131, 139, 144-45,
                                  152-55, 158, 172-73, 177, 187-88, 194, 198-99, 201-02, 205)
  8. How was the agreement        By OPEC’s “years-long campaign,” involving annual meetings
  initiated?                      at CERAWeek and at forums in Vienna and Davos, to
                                  convince defendants (id. ¶¶ 10-12, 85, 93-110, 112-35, 194,
                                  202, 205)

       Any trial of the purported conspiracy challenged in the complaint clearly would require

adjudicating the lawfulness of the alleged conduct of OPEC and its sovereign member nations.

As defendants previously established (Br. at 10-18), this Court lacks subject matter jurisdiction

to do so under both the political question and act of state doctrines.

       B.      The Political Question Doctrine Bars Plaintiffs’ Claims

       Plaintiffs concede (Opp. at 7) that for the political question doctrine to preclude the Court

from exercising subject matter jurisdiction, defendants need show only that the questions to be

tried satisfy at least one of the six factors set forth in Baker v. Carr, 369 U.S. 186 (1962).

Contrary to plaintiffs’ assertions, the questions to be tried implicate all six Baker factors.

       First, the text of the Constitution commits the questions that a trial of this case would

present to the Executive Branch (first Baker factor). As the court in Spectrum Stores made clear,

“matters relating ‘to the conduct of foreign relations . . . are so exclusively entrusted to the

political branches of government as to be largely immune from judicial inquiry.’” 632 F.3d at

                                                   6
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950 (citation omitted). “[T]he conduct of foreign relations is committed by the Constitution to

the political departments of the Federal Government; . . . the propriety of the exercise of that

power is not open to judicial inquiry.” Id. (citation omitted). Plaintiffs argue that not every case

or controversy that touches foreign relations constitutes a political question. But where, as here,

the case involves an “alleged . . . price-fixing conspiracy involving OPEC member nations,” the

adjudication of this case amounts to a judicial “reexamin[ation]” of “the Executive Branch’s

longstanding approach of managing relations with foreign oil-producing states through

diplomacy rather than private litigation[.]” Id. at 951. “Any merits ruling in this case, whether it

vindicates or condemns the acts of OPEC member nations, would reflect a value judgment on

their decisions and actions—a diplomatic determination textually committed to the political

branches.” Id. Such a ruling would threaten U.S. relations with OPEC nations on issues of

national security—such as counterterrorism, military readiness, and nuclear nonproliferation—

and frustrate other national priorities, like foreign investment in the United States by nations like

Saudi Arabia or diplomatic negotiations with nations like Russia. Id. at 952.

       Second, there are no judicially discoverable and manageable standards for resolving the

questions presented in this case (second Baker factor). As in Spectrum Stores, a merits decision

here “would require a court to recast what are foreign policy and national security questions of

great import in antitrust law terms.” Id. Contrary to plaintiffs’ argument, “[t]he Sherman and

Clayton Acts are decidedly inadequate to provide judicially manageable standards for resolving

such momentous foreign policy questions.” Id. The court in Spectrum Stores thus agreed “with

those courts that have held that merely ‘recasting foreign policy and national security questions

in tort terms does not provide standards for making or reviewing foreign policy judgments.’” Id.

at 953 (citation omitted); see also D’Augusta, 117 F.4th at 1102 (The Sherman and Clayton Acts



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“are poorly suited . . . to handle such difficult questions on areas of statecraft.”).

        Third, it would be impossible to decide the questions presented in this case without an

initial policy decision of the kind clearly intended for nonjudicial discretion (third Baker factor).

As the complaint makes clear, defendants could not raise oil prices acting alone; they needed

OPEC’s collaboration. Indeed, plaintiffs concede that “global oil prices cannot be explained

without some reference to OPEC” because it “control[s] over 50% of the world’s oil

production.” (Opp. at 6.) Thus, a ruling here would require this Court to declare that OPEC

officials—while visiting the United States—openly flouted this country’s laws against the United

States’ interest. But the executive branch’s diplomacy, not the “far blunter instrument of

antitrust litigation,” manages this country’s foreign relations. Spectrum Stores, 632 F.3d at 953.

A ruling on the merits here “would by its very nature involve a policy determination at odds with

this longstanding policy of diplomatic engagement.” Id.

        Fourth, because a ruling on the merits of this case would supplant decades of diplomatic

engagement with the blunt instrument of antitrust litigation, it would express “a lack of the

respect owed to the Executive Branch, which [as previously explained] is constitutionally

responsible for the conduct of foreign affairs.” Id. (fourth Baker factor).

        Fifth, as Spectrum Stores explained, such “profound foreign policy questions” as U.S.

diplomatic relations with oil-producing nations “uniquely demand a single-voiced statement of

the Government’s views.” Id. (citation omitted). Accordingly, the questions presented by

plaintiffs’ complaint require “an unusual need for adherence to the political decision already

made.” Id. (fifth Baker factor).

        Sixth, a merits decision—especially in plaintiffs’ favor—would “inevitably result in

embarrassment from the Judicial Branch’s conflicting pronouncement about the United States’



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mode of engagement with foreign nations that control a critical resource on which this country

depends.” Id. (sixth Baker factor).2

       In sum, although satisfying only a single Baker factor is sufficient to invoke the political

question doctrine and divest the Court of subject matter jurisdiction, the questions presented here

satisfy all six Baker factors. This Court therefore lacks subject matter jurisdiction to adjudicate

plaintiffs’ claims and should dismiss the complaint on that basis.

       C.      The Act of State Doctrine Also Bars Plaintiffs’ Claims

       Under the act of state doctrine, “the courts of one country will not sit in judgment on the

acts of the government of another, done within its own territory.” Underhill v. Hernandez, 168

U.S. 250, 252 (1897). Plaintiffs argue that the act of state doctrine should not apply because all

defendants are private U.S. companies, and they are not challenging any act of a foreign

sovereign state. (Opp. at 12-14.) Again, their complaint belies their argument. No less than the

plaintiffs in D’Augusta, plaintiffs here allege that OPEC countries are “indispensable co-

conspirators in the scheme to reduce oil production.” D’Augusta, 117 F.4th at 1103. Without

OPEC’s alleged actions, defendants could not stabilize prices or affect global supply. Thus,

plaintiffs’ claims would require the parties to litigate “the petroleum polic[ies] of foreign

nations,” including which OPEC officials initiated the agreement, when, and by how much they

demanded the alleged conspirators reduce supply. Id. Because the “exploitation of natural

resources is an inherently sovereign function,” adjudicating these questions would “call into



2
  In an amicus brief filed in Spectrum Stores, the U.S. government stated that a judicial ruling on
the lawfulness of OPEC’s conduct would constitute “a formal and public contradiction” of the
Executive Branch’s decades-old policy of “managing the complex U.S. relationships with
foreign oil-producing states” through diplomacy instead “of antitrust litigation.” Br. of the
United States as Amicus Curiae Supporting Affirmance, Spectrum Stores, Inc. v. Citgo
Petroleum Corp., No. 09-20084, 2010 WL 6606883, at *42, *45 (5th Cir. Aug. 16, 2010).

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question the acts of foreign governments with respect to exploitation of their natural resources.”

Spectrum Stores, 632 F.3d at 954 (citation omitted). The act of state doctrine deprives a court of

subject matter jurisdiction to preside over such sensitive issues. D’Augusta, 117 F.4th at 1103.

       Further, as Plaintiffs admit in their opposition, the “[a]ct of state issues only arise when a

court must decide—that is, when the outcome of the case turns upon—the effect of official

action by a foreign sovereign.” W.S. Kirkpatrick & Co. v. Env’t Tectonics Corp., 493 U.S. 400,

406-07 (1990). Here, the allegations focus on and “turn upon” OPEC inducing defendants to

form an agreement with OPEC to limit oil production. Therefore, to find a conspiracy, the

factfinder must decide the effects of official actions by OPEC—i.e., acts of inducement,

communications, meetings, and more. As shown above (supra Section I.A), without the

allegations involving OPEC, there is no alleged conspiracy, making OPEC’s actions central to

the outcome of the case.

                                          *      *       *

       Finally, contrary to plaintiffs’ assertion (Opp. at 13-14), the political question and act of

state doctrines apply when plaintiffs have not named OPEC members or U.S. government

officials as defendants. Although OPEC and its members were not defendants in D’Augusta, the

political question doctrine nevertheless deprived the court of subject matter jurisdiction.

D’Augusta, 117 F.4th at 1103. And even though no U.S. government officials or OPEC member

states were defendants in Spectrum Stores, the court was “simply unable to ignore the

involvement of foreign nations in the [alleged] conspiracy,” and the political question doctrine

divested the court of subject matter jurisdiction. Spectrum Stores, 632 F.3d at 947.3


3
  While plaintiffs attempt to distinguish D’Augusta because the complaint there alleged that
“then-President Trump engineered an antitrust conspiracy among the United States, Saudi
Arabia, Russia, and Defendants,” the Ninth Circuit noted that this allegation only established that
                                                                                               (cont'd)

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II.      PLAINTIFFS’ OPPOSITION CONFIRMS THAT THEY HAVE NOT
         ALLEGED A PLAUSIBLE CONSPIRACY INVOLVING DEFENDANTS

         Plaintiffs have not alleged facts—direct or circumstantial—that plausibly suggest

defendants conspired to raise oil prices by restricting shale oil production, either with OPEC or

among themselves. For this independent reason, the complaint should be dismissed.

         A.     Plaintiffs Concede That They Have Pleaded
                No Direct Evidence of the Alleged Conspiracy

         Plaintiffs concede that none of the allegations in the complaint constitute direct evidence

of the purported conspiracy. Instead, they contend only that statements by some defendants’

CEOs “are analogous to” direct evidence of an unlawful conspiracy. Plaintiffs are wrong

because they allege no factual basis for claiming that “[e]ach of these CEOs purport[ed] to speak

to and on behalf of U.S. shale oil producers as a whole (i.e., all Defendants).” (Opp. at 19.)

None of the statements, which certain defendants allegedly made in earnings calls with

shareholders, refers to (or even suggests) any agreement among defendants, and none purports to

reflect the views of anyone but the speaker; therefore, these statements do not come close to

constituting direct evidence. See, e.g., In re Ins. Brokerage Antitrust Litig., 618 F.3d 300, 324

n.23 (3d Cir. 2010) (direct evidence must amount to a “smoking gun,” like a “document or

conversation explicitly manifesting the existence of the agreement” (emphasis added)).4 At



“Plaintiffs’ claims here are more clearly barred from judicial review than the claims in Spectrum
Stores,” not that the Fifth Circuit decided Spectrum Stores wrongly. D’Augusta, 117 F.4th at
1103 (observing with approval that, in Spectrum Stores, the Fifth Circuit “relied on the political
question doctrine to reject more generalized allegations of collusion between American oil
companies and OPEC—with no Presidential or executive action”).
4
  Plaintiffs’ cited authorities (Opp. at 19-20) are inapposite because the alleged direct evidence in
those cases expressly referenced an agreement or collective action involving the defendants. See
Toledo Mack Sales & Serv., Inc. v. Mack Trucks, Inc., 530 F.3d 204, 211 (3d Cir. 2008) (dealer
defendants allegedly stated “that ‘dealers don’t compete on price’” and referenced “a
‘gentlemen’s agreement’ among [defendant] truck dealers that they would sell only in their own
                                                                                              (cont'd)

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most, these statements reflect each speaker’s observations about the marketplace following the

OPEC Price War and the COVID-19 pandemic and the speaker’s intentions for his or her

company’s production in the short-term future. But executives’ “public statements” about

market conditions and predictions “particularly in response to investor and analyst questions” do

not provide evidence of a conspiracy, much less direct evidence. In re Dynamic Random Access

Memory (DRAM) Indirect Purchaser Antitrust Litig., 28 F. 4th 42, 50 (9th Cir. 2022).

       Plaintiffs also refer to in-person meetings and communications, which they neglect to

mention allegedly involved OPEC (Compl. ¶¶ 115, 139, 152, 177-79), as “analogous to” direct

evidence of a conspiracy (Opp. at 20). But, like the earnings calls, these meetings and

communications do not evidence or suggest an agreement to restrict production. Indeed, at the

2017 CERAWeek meeting to which plaintiffs refer, plaintiffs allege that “shale producers

signaled they weren’t ready to give up on the growth they see ahead.” (Compl. ¶ 115.) And in

the July 2020 communication plaintiffs reference, the OPEC Secretary General expressed

OPEC’s appreciation for “the support and the cooperation we are getting from the U.S. both at

the level of policymakers as well as from industry” during the disastrous market collapse

inflicted by the COVID-19 pandemic. (Id. ¶ 139 (emphasis added) (citation omitted).)




areas of responsibility”); Champagne Metals v. Ken-Mac Metals, Inc., 458 F.3d 1073, 1084
(10th Cir. 2006) (alleged “statement indicate[d] an agreement among service center[]
[defendants] to take collective action”); United States v. Taubman, 297 F.3d 161, 165 (2d Cir.
2002) (witness “explicitly testified that she was directed by [defendant] to meet with [a
competitor] and work out the specifics of the price-fixing agreement”); B & R Supermarket, Inc.
v. Visa, Inc., No. C 16-01150 WHA, 2016 WL 5725010, at *6 (N.D. Cal. Sept. 30, 2016) (credit
card executive allegedly spoke “on behalf of all [credit card] networks” and another stated that
the alleged anticompetitive decision was made by “getting everyone ‘in a room’ to ‘work
together’”); Iowa Pub. Emps. Ret. Sys. v. Merrill Lynch, Pierce, Fenner & Smith Inc., 340 F.
Supp. 3d 285, 318 (S.D.N.Y. 2018) (alleged statements referencing a “general agreement”
among defendants and that two defendants “agreed” they “need[] to ‘get a hold of this thing’”).

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       B.      Plaintiffs Fail to Plausibly Allege
               Circumstantial Evidence of the Alleged Conspiracy

               1.      Plaintiffs’ Failure to Plead Facts Showing Parallel
                       Conduct Dooms Their Effort to Plead Circumstantial Evidence

       Plaintiffs’ failure to plead parallel conduct prevents them from stating a conspiracy claim

based on circumstantial evidence. (Br. at 22-24.) Despite asserting that the objective of the

alleged conspiracy was to restrict output, plaintiffs concede—as they must—that they have not

alleged that defendants “executed parallel cuts to existing production levels.” (Opp. at 23.)

Plaintiffs insist that even if “Defendants may have implemented differing levels of production

restraint,” “Plaintiffs have plausibly alleged that each [defendant] participated in coordinated

supply restrictions.” (Id.) But conclusory statements are not substitutes for factual allegations.

And the complaint’s allegations show that during the alleged conspiracy, six of the eight

defendants increased U.S. production at vastly different rates that do not suggest any

coordination (e.g., Centennial increased by 56% and EOG by 6%), with only two defendants

allegedly decreasing U.S. production rates—again, at vastly different rates (Chesapeake by 63%

and Hess by 6%). (Compl. ¶ 160 table 1; see also Br. at 8-9, 22-24.)5

       Recognizing that their own complaint spotlights defendants’ diverging production

numbers, plaintiffs instead argue that defendants’ “differing levels of production restraint”

nevertheless show a parallel “coordinated supply restriction[].” (Opp. at 23.) But plaintiffs’ own

authorities belie their argument.6 For example, plaintiffs cite In re Broiler Chicken Antitrust



5
 While plaintiffs argue that allegations regarding “variations in each Defendants’ [sic]
production growth during the Class Period . . . [are] found nowhere in the [complaint]” (Opp. at
22), those varied production growth rates are depicted in Table 1 of the complaint.
6
  Plaintiffs’ cited authorities (Opp. at 23-24) are inapposite because the defendants in those cases
allegedly engaged in similar conduct, rather than the disparate production rates alleged in the
complaint here. See In re Dealer Mgmt. Sys. Antitrust Litig., 680 F. Supp. 3d 919, 1002 (N.D.
                                                                                                (cont'd)

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Litigation, 290 F. Supp. 3d 772 (N.D. Ill. 2017), for the proposition that parallel conduct does

not require that “production decreased in absolute numbers.” (Opp. at 23.) But that court

emphasized that “at some point the difference in production cut or market share reductions

would be so great that agreement becomes implausible.” Broiler Chicken, 290 F. Supp. 3d at

795. According to that court, while a 6% production difference between competitors may not be

implausible, a conspiracy becomes implausible when two defendants’ “market shares increased

20% and 50%” while “two other defendants’ market shares declined 25% and 19%.” See id.

Yet, according to the complaint here, the divergence among defendants is even more

pronounced, with Chesapeake decreasing production by 63% and Centennial increasing

production by 56%—a 119% difference. In the Tenth Circuit’s words, a conspiracy that so

greatly “locks in substantial advantages” for one rival, at the expense of another, is

“implausible.” Llacua v. W. Range Ass’n, 930 F.3d 1161, 1181 (10th Cir. 2019).

       To evade defendants’ diverging production numbers, plaintiffs now pivot and argue that

defendants engaged in parallel conduct when they allegedly agreed not to spend funds to exploit

new “drilling opportunities.” (Opp. at 3, 23.) But the complaint pleads no facts about “drilling

opportunities” that defendants—individually or collectively—either exploited or forewent, or

any facts of agreements or discussions concerning such activities. At most, the complaint

includes a chart that purportedly shows all U.S. oil producers’ “reinvestment rate” between 2012

and 2022. (Id. at 23 (citing Compl. ¶ 161 & fig. 3).) But this chart does not suggest parallel



Ill. 2023) (defendants’ “challenged actions [we]re similar” as they “proposed fee structures
[plaintiff] claims were cost prohibitive”); Crownalytics, LLC v. SPINS LLC, No. 22-CV-01275-
NYW-JPO, 2024 WL 2111570, at *6 (D. Colo. May 10, 2024) (plaintiff alleged that “around the
same time, [defendants] changed their established practices and worked to preclude [plaintiff’s]
access to their data”); In re Delta/AirTran Baggage Fee Antitrust Litig., 733 F. Supp. 2d 1348,
1361 (N.D. Ga. 2010) (“Defendants made changes to their business practices, including reducing
capacity and imposing a first-bag fee.”).

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behavior among defendants to refrain from exploiting drilling opportunities. Instead, it reflects

average quarterly reinvestment rates for all U.S. oil producers—including shale oil and other

crude oil sources held by non-defendants. As a matter of law, these averages cannot establish

parallel conduct. First, courts reject averages that “do not distinguish at all between defendant[s]

and non-defendant[s].” City of Pontiac Police & Fire Ret. Sys. v. BNP Paribas Sec. Corp., 92

F.4th 381, 400 (2d Cir. 2024) (citation omitted); see also In re Musical Instruments & Equip.

Antitrust Litig., 798 F.3d 1186, 1197 (9th Cir. 2015) (rejecting statistics “alleg[ing] an increase

in the average retail price of all guitars and guitar amplifiers sold”).7 Second, contrary to

plaintiffs’ argument that they have alleged defendants’ “sudden shift away from growth to

production restraint” (Opp. at 24), averages across multiple years do not reveal “‘sudden shifts in

behavior’” because they can “‘flatten or hide trends that might tell a different story,’ and they

can be finessed by shifting the time periods being averaged.” City of Pontiac, 92 F.4th at 400

(citation omitted); see also Oliver v. SD-3C LLC, No. 11-CV-01260-JSW, 2016 WL 5950345, at

*7 (N.D. Cal. Sept. 30, 2016) (statistics that are “aggregated by year . . . do[ ] not show whether

changes in prices occurred simultaneously or at different times”). (See also Br. at 23.)

       Moreover, even if this Court were to indulge plaintiffs’ unsupported, highly implausible

assumption that each defendant’s reinvestment rate equaled the average reinvestment rate for all

U.S. oil producers, the complaint’s Figures 4 to 10—showing defendants’ increasing revenue—

then establish that defendants’ reinvestment in new drilling increased substantially in absolute



7
  Plaintiffs misplace reliance (Opp. at 23-24) on In re Domestic Airline Travel Antitrust
Litigation, 221 F. Supp. 3d 46 (D.D.C. 2016), where plaintiffs presented economic evidence
allegedly showing that during the purported conspiracy, “airfares on routes which [a] Defendant
[airline] was the largest carrier gr[ew] at a much higher rate than airfares on routes which a non-
Defendant airline was the largest carrier.” Id. at 64. Here, plaintiffs do not compare defendants’
growth or investment rates to those of non-defendants.

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dollars following the COVID-19 pandemic. Comparing the quarterly average reinvestment rates

from Figure 3 to each defendant’s annual revenue as reflected in Figures 4-10 would show that,

in each case, reinvestment expenditures increased dramatically (and though plaintiffs

inexplicably did not include a chart of Hess’s annual revenues in the complaint, the same would

be true for Hess):

   Defendant          2020        Q1 2020             2022         Q3 2022          % Increase in
                     Revenue    Reinvestment         Revenue     Reinvestment       Reinvestment
                                  (80% of                          (40% of          Expenditures
                                 Revenue)                         Revenue)
 Pioneer              $6B           $4.8B             $24B           $9.6B               100%
 (Compl. fig. 4)
 Centennial          $500M          $400M             $2B            $800M               100%
 (Compl. fig. 5)
 Chesapeake          $500M          $400M             $11B           $4.4B              1000%
 (Compl. fig. 6)
 Continental          $2.5B          $2B              $9B            $3.6B               80%
 (Compl. fig. 7)
 Diamondback          $3B           $2.4B             $10B            $4B                67%
 (Compl. fig. 8)
 EOG                  $10B           $8B              $26B           $10.4B              30%
 (Compl. fig. 9)
 Occidental           $16B          $12.8B            $37B           $14.8B              16%
 (Compl. fig.
 10)

       Finally, plaintiffs erroneously argue that this Court can ignore that their factual

allegations are entirely consistent with defendants independently responding to common market

stimuli. (Opp. at 20-21.) As a matter of law, the Court may consider such “obvious alternative

explanations”—especially when they are pleaded in the complaint. In re Ins. Brokerage

Antitrust Litig., 618 F.3d at 322-23; see also Bell Atl. Corp. v. Twombly, 550 U.S. 544, 566

(2007) (“[N]othing in the complaint intimates that the [defendants’] resistance to the [new

market entrants] was anything more than the natural, unilateral reaction of each [defendant]

intent on keeping its regional dominance.”). Indeed, a complaint that identifies “obvious


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alternative explanation[s]” for challenged behavior must be dismissed. Twombly, 550 U.S. at

567. Here, plaintiffs have pleaded all the facts necessary to identify such obvious alternative

explanations. (Compl. ¶¶ 103-08 (OPEC Price War), 138 (COVID-19 oil market collapse),

143(d) (perceived threat of another OPEC price war), 146-47 (Russian invasion of Ukraine).)

       In sum, the complaint pleads no facts suggesting that defendants engaged in parallel

behavior with respect to their shale oil production or investment in new “drilling opportunities.”

To the contrary, plaintiffs’ factual allegations suggest that many defendants expanded—by

various amounts and percentages—both their production levels and their reinvestment activities,

while one defendant, Expand Energy, which publicly announced that it was exiting the oil

business altogether (Br. at 8), decreased production by 63%. Because plaintiffs do not plead

parallel conduct, they cannot state a conspiracy claim based on circumstantial evidence. See,

e.g., City of Pontiac, 92 F.4th at 401 (affirming dismissal of conspiracy claims for failure to

allege parallel conduct).

               2.      Plaintiffs’ “Plus Factors” Are Irrelevant
                       And Do Not Plausibly Suggest the Alleged Conspiracy

       Plaintiffs do not dispute that absent parallel conduct, the complaint’s alleged “plus

factors” are irrelevant as a matter of law. (Br. at 25.)

       Moreover, even when parallel conduct has been alleged (unlike here), a court can only

infer a conspiracy from plus factors when they suggest circumstances so unusual that they create

the inference that the “parallel behavior . . . would probably not result from chance, coincidence,

independent responses to common stimuli, or mere interdependence unaided by an advance

understanding.” Twombly, 550 U.S. at 556 n.4 (citation omitted). Plaintiffs’ putative “plus

factors” do not create such an inference. Rather, they are entirely consistent with unilateral,

economically rational conduct.


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       First, plaintiffs wrongly argue that meetings with OPEC ministers at which the

participants allegedly shared “forward-looking production information” were somehow irrational

and thus evidence a conspiracy. (Opp. at 25-26.) Plaintiffs also assert that “the FTC uncovered

evidence of interfirm communications that support an inference of a traditional conspiracy.” (Id.

at 25.) The complaint does not allege any facts about these meetings and communications from

which to infer that each defendant’s production decisions were not made independently in

response to common market conditions. And plaintiffs do not plead that the FTC identified any

communication between defendants. Tellingly, plaintiffs argue that the FTC “uncovered

evidence” that defendant John Hess “‘communicated publicly and privately with OPEC

representatives and oil ministers of OPEC member states about global output and other

dimensions of crude oil market competition’ and ‘encouraged high-level OPEC representatives

in their stated mission to stabilize global oil markets.’” (Id. at 26 (quoting Compl. ¶ 185).) That

allegation, which affirms the central role of OPEC in the complaint (see supra Section I.A), does

not suggest a conspiracy among defendants. Plaintiffs do not—and cannot—point to any FTC

finding involving any communication between Hess or Scott Sheffield and any other defendant.

       Second, plaintiffs implausibly insist that defendants’ expansion restraint was against each

defendant’s self-interest. (Opp. at 26-28.) But as the Ninth Circuit recently emphasized in

affirming the dismissal of similar conspiracy allegations, the “global Covid-19 pandemic” that

caused “the price for a barrel of oil” to go “negative!”—not to mention the OPEC Price War and

the Russian invasion of Ukraine—are exactly the type of “obvious alternative explanation[s]” for

why defendants may have chosen expansion restraint. D’Augusta, 117 F.4th at 1104.

       Third, plaintiffs erroneously contend that a conspiracy is plausible because the domestic

shale oil market is “concentrated at the top but fragmented with many small producers at the



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bottom,” and defendants supposedly possess “market power” because they are “responsible for

16.2% of total U.S. crude oil production.” (Opp. at 28, 36.) In fact, the complaint unequivocally

alleges that the relevant market for crude oil production is global (not U.S.-only) (Compl. ¶¶ 8,

13, 82, 93-94, 96-97, 103, 131, 207, 226-27) and that the OPEC member states “control over

50% of the world’s oil production” (Opp. at 6), with defendants collectively accounting for only

1.9% of the world’s crude oil production (Br. at 9). Under no circumstances could this tiny share

grant defendants—even when treated collectively—market power. See, e.g., Rebel Oil Co. v.

Atl. Richfield Co., 51 F.3d 1421, 1438 (9th Cir. 1995) (“[M]arket share of less than 50 percent is

presumptively insufficient to establish market power.”).

       Plaintiffs also argue that six investment firms allegedly own shares of some defendants,

but disregard defendants’ point that common ownership cannot constitute a plus factor when, as

here, the complaint does not plead facts suggesting that individuals at the investment firms

conspired. (Br. at 28.) Plaintiffs misleadingly argue that “these common shareholders met in

New York ‘to discuss a common goal’: ‘how to make frackers pump less and profit more.’”

(Opp. at 29 n.14 (quoting Compl. ¶ 117).) But the alleged “common investors” identified in the

complaint (Compl. ¶ 197 (BlackRock, Capital World Investors, Fidelity, T. Rowe Price,

Vanguard)) are entirely different from the investors named in the article describing the

shareholder meeting in New York, see Wall Street Tells Frackers to Stop Counting Barrels, Start

Making Profits, THE WALL STREET JOURNAL (Dec. 13, 2017) (cited in Compl. ¶ 117 n.45)

(Invesco, Sailing Stone Capital Partners, Macquarie Group, Neuberger Berman Group).8



8
 The Court can consider the content of this article under the incorporation by reference doctrine.
See, e.g., E.W. v. Health Net Life Ins. Co., 86 F.4th 1265, 1292, n.6 (10th Cir. 2023) (“[I]n
evaluating whether Plaintiffs have stated a claim under Rule 12(b)(6), courts may properly rely
on materials referenced in Plaintiffs’ complaint[.]” (citation omitted)).

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                                          *       *      *

       In sum, plaintiffs have not sufficiently alleged parallel conduct to state a conspiracy claim

based on circumstantial evidence, and absent parallel conduct, their alleged plus factors are

irrelevant. But even if the court were to consider the alleged plus factors, they do not support

(indeed, they undermine) a plausible inference that defendants conspired to restrict production.

The complaint should therefore be dismissed.

III.   PLAINTIFFS FAIL TO PLEAD FACTS
       SHOWING THAT THEY HAVE ANTITRUST STANDING

       Plaintiffs lack standing to seek injunctive relief—the only remedy available to them

under the Sherman Act—because the complaint does not plead facts suggesting an ongoing

antitrust violation. (Br. at 31-32.) Nor did plaintiffs plead facts supporting antitrust standing

under AGC because they do not—and cannot—trace any connection between the prices that

plaintiffs paid to third-party retailers for refined petroleum products and defendants’ alleged

production restraint. (Id. at 32-37.)

       Plaintiffs’ arguments in opposition are unavailing. First, plaintiffs contend that “the AGC

analysis for determining Sherman Act injunctive relief standing is different—more permissive—

than for damages” (Opp. at 30), but this argument simply ignores the reason their injunctive

claim fails. To obtain injunctive relief, plaintiffs must plead ongoing misconduct. (Br. at 31.)

Plaintiffs have not. Instead, plaintiffs allege that Exxon Mobil acquired defendant Pioneer and

Chevron is in the process of acquiring defendant Hess, and that both Exxon and Chevron have

committed to expand shale oil production. (Compl. ¶ 165.) These allegations belie any

continuing conspiracy. And plaintiffs do not dispute that courts consistently dismiss injunctive

relief claims when, as here, plaintiffs plead only historical conduct to support their claims of an

ongoing antitrust violation. (Br. at 31-32.) Because plaintiffs’ Sherman Act claim seeks only


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injunctive relief that plaintiffs lack standing to seek, their claim should be dismissed.

       Second, plaintiffs argue that “[t]he AGC factors do not apply to most of Plaintiffs’ state

law antitrust claims.” (Opp. at 30.) That argument is erroneous for the reasons set forth below.

(See infra pp. 25-27.)

       Third, plaintiffs assert that they have satisfied the AGC factors (Opp. at 32-40), but an

analysis of each factor confirms they cannot meet their burden as to any factor.

       Causal Connection Between Alleged Violation and Plaintiffs’ Injury. Plaintiffs

concede they cannot trace any purported overcharge they paid to third-party retailers for refined

petroleum products to defendants’ alleged agreement to refrain from further expanding their

shale oil production, arguing such tracing would be “absurd.” (Opp. at 33.) Plaintiffs’ rhetorical

question—“How does one trace Defendants’ foregone production through the supply chain?”

(id.)—ignores the Supreme Court’s admonition that a plaintiff lacks standing when there are only

“vaguely defined links” between defendants’ alleged conduct and plaintiffs’ alleged injury.

AGC, 459 U.S. at 540.

       Plaintiffs wrongly contend they satisfy this AGC factor because defendants’ purported

conspiracy allegedly “resulted in an increase in U.S. oil prices . . . and that this overcharge was

passed along the distribution chain and absorbed by Plaintiffs in the form of supra-competitive

prices for gasoline, distillate fuels, marine fuel, and jet fuel.” (Opp. at 36.) Plaintiffs, however,

plead no facts showing how defendants—accounting for less than 2% of global crude oil

production—could have impacted prices in the global market, let alone how purportedly elevated

prices for crude oil impacted the pricing decisions of the many independent, non-conspirators

along the global supply chain from the extraction of crude oil to the retail sale of refined

petroleum products. (Br. at 32-34.)



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       Plaintiffs argue that “[t]hese same traceability arguments have been roundly rejected by

courts considering indirect purchaser claims involving price-fixed components or ingredients.”

(Opp. at 37.) But the decisions they cite are inapposite because those cases—unlike here—were

brought by plaintiffs that transacted directly with the defendants. See In re Sugar Indus.

Antitrust Litig., 579 F.2d 13, 16 (3d Cir. 1978) (plaintiffs allegedly purchased directly from

defendants); In re Linerboard Antitrust Litig., 305 F.3d 145, 159 (3d Cir. 2002) (same);

Knevelbaard Dairies v. Kraft Foods, Inc., 232 F.3d 979, 988-90 (9th Cir. 2000) (plaintiffs sold

directly to defendants). Here, plaintiffs do not—and cannot—allege that they bought anything

from defendants.

       Plaintiffs also suggest that the Court can assume that defendants’ alleged conspiracy

impacted market-wide prices because defendants “collectively possess market power,” given

their “16.2% [share] of total U.S. crude oil production.” (Opp. at 36.) But plaintiffs’ alleged

market is global (not U.S.-only), and defendants’ collective share of that market is less than 2%.

For this reason, plaintiffs misplace reliance on In re Fragrance Direct Purchaser Antitrust

Litigation, where the court held that the causal connection factor of the AGC test “weigh[ed] in

[p]laintiffs’ favor” because “Defendants controlled roughly two-thirds of the global fragrance

market.” No. 2:23-02174, 2025 WL 579639, at *14 (D.N.J. Feb. 21, 2025) (cited at Opp. 35).

       Defendants’ Intent. Plaintiffs wrongly assert that they “sufficiently plead intent and

motivation” because the alleged conspiracy “had the direct and foreseeable result of causing

artificially higher prices for oil derivative fuel products” that plaintiffs purchased. (Opp. at 38-

39.) As an initial matter, the complaint does not contain any facts at all regarding defendants’

“intent and motivation.” Nor does it allege factual support for the conclusory assertion that

defendants’ alleged upstream conduct, related solely to crude oil, had any effect on the prices of



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refined petroleum products at the bottom of the multi-tiered refining and distribution chain.

       Antitrust Injury. Plaintiffs fail to plead antitrust injury because they cannot trace the

retail prices they paid for refined products to defendants’ alleged agreement to restrict production

of crude oil. (Br. at 35-36.) According to the complaint, crude oil producers from around the

world sell their crude oil to refineries (also located around the world) that “co-mingle” the crude

oil of multiple producers and, using chemical separation and reaction processes, convert the

crude oil into gasoline, heating oil, diesel fuel, marine fuel, jet fuel, and other petroleum-based

feedstocks, which are then combined in refinery storage facilities and shipped through pipelines,

by water-borne barges, and railway to bulk terminal storage and blending facilities. Once there,

they are blended and combined with other similar domestic and imported refined products to be

shipped across the country for eventual sale to wholesalers, then retailers, and finally—at the end

of a long supply chain—to consumers like plaintiffs. (Compl. ¶¶ 5-6, 234 & fig. 16.) Plaintiffs

do not—and cannot—allege that they bought anything directly or indirectly from defendants—or

that they purchased any refined petroleum product derived (in whole or even in part) from

defendants’ crude oil. (Br. at 34.)

       Plaintiffs rely on “[t]he general rule . . . that customers and competitors in the affected

market have antitrust standing.” (Opp. at 33 (citing Viamedia, Inc. v. Comcast Corp., 951 F.3d

429, 482 (7th Cir. 2020)).) But that rule bars plaintiffs’ claims: plaintiffs are not customers or

competitors in the global crude oil market where defendants allegedly compete.

       Plaintiffs also wrongly argue that they need not trace their injury to “oil Defendants

produced” and that “countless . . . authorities permit indirect purchasers of finished products that

contain the allegedly restrained products to bring suit under [Illinois Brick] repealer statutes.”

(Id.) But again, plaintiffs rely on authorities that undercut their position because in those cases,



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unlike here, the products at issue were “identifiable, discrete physical objects” like TVs and auto

parts that could be “physically traced through the supply chain,” including by part numbers and

tracking IDs. In re TFT-LCD (Flat Panel) Antitrust Litig., 586 F. Supp. 2d 1109, 1123 (N.D.

Cal. 2008); In re Auto. Parts Antitrust Litig., 50 F. Supp. 3d 836, 855 (E.D. Mich. 2014).9 There

is nothing identifiable about defendants’ crude oil that is co-mingled with oil from many other

producers before being stripped of its identifiable features through “chemical separation and

reaction processes” as it is converted into gasoline, heating oil, diesel fuel, and other petroleum-

based products. (Br. at 32.) On the question of traceability, fungible crude oil is not at all akin

to identifiable flatscreens.

        Directness of the Connection. Plaintiffs fail to satisfy this factor because they admit

they rely “on the same facts highlighted in relation to antitrust injury and causal connection”

(Opp. at 39), which are deficient for the reasons set forth above.

        Speculative and Complex Damages. Plaintiffs cannot satisfy these factors because,

contrary to their argument (id. at 39-40), they do not plead facts showing that defendants’

conduct resulted in any overcharge paid by crude oil refiners—let alone that any such overcharge

was passed through the multi-tiered distribution chain to plaintiffs.

                                          *       *       *

        In sum, plaintiffs’ entire action must be dismissed for lack of antitrust standing because

plaintiffs cannot trace any purported overcharge to defendants’ alleged conduct, and because

their allegations about acquisitions in the industry moot their injunctive relief claim.



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  See also In re Auto. Parts Antitrust Litig., 29 F. Supp. 3d 982, 997-98 (E.D. Mich. 2014)
(“Each Complaint details how Fuel Senders follow a traceable path through the distribution
chain[.]”); In re Warfarin Sodium Antitrust Litig., 214 F.3d 395, 401 (3d Cir. 2000) (class
members were “purchasers . . . who [had] no choice in which warfarin sodium they purchased”).

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IV.    PLAINTIFFS’ STATE LAW CLAIMS FAIL FOR THE SAME
       REASONS AS THEIR FEDERAL CLAIM AND FOR ADDITIONAL REASONS

       A.      All of Plaintiffs’ State Law Claims Fail With Their Sherman Act Claim

       Plaintiffs’ state law claims, which are predicated on the same factual allegations as their

federal claim, fail for the same reasons: the political question and act of state doctrines deprive

this Court of subject matter jurisdiction, and plaintiffs have not pleaded facts sufficient to

establish a plausible conspiracy involving defendants. (Br. at 38-39 & n.14.) Plaintiffs do not

disagree. (Opp. at 41.) Thus, plaintiffs’ state law claims should be dismissed in their entirety.

       B.      Plaintiffs Lack Standing to Bring Their State Law Claims

               1.      Plaintiffs Lack Antitrust Standing to Bring Their State Law Claims

       The Supreme Court’s decision in AGC, requiring more than “vaguely defined links”

between plaintiffs’ alleged injuries and defendants’ alleged conduct, applies equally to plaintiffs’

state antitrust law claims here. (See supra pp. 20-24.) Plaintiffs are incorrect that “federal courts

have generally adopted the presumption that, absent a binding decision to the contrary, ‘any state

with an Illinois Brick repealer would reject application of AGC.’” (Opp. at 31.)

       “[T]he Illinois Brick doctrine is only one of several obstacles to . . . recovery on an

antitrust claim. The direct-purchaser doctrine of Illinois Brick and the direct-injury doctrine of

Associated General Contractors are analytically distinct.” Int’l Bhd. of Teamsters, Loc. 734

Health & Welfare Tr. Fund v. Philip Morris Inc., 196 F.3d 818, 828 (7th Cir. 1999). Both the

Second and Ninth Circuits have concluded that the AGC factors apply to state antitrust law

claims even in Illinois Brick repealer states—including California. See, e.g., Schwab Short-Term

Bond Mkt. Fund v. Lloyds Banking Grp. PLC, 22 F.4th 103, 120 (2d Cir. 2021) (applying AGC

to claims under California’s Cartwright Act and holding that plaintiff lacked antitrust standing

because it purchased from third parties); Knevelbaard, 232 F.3d at 987 (acknowledging that


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despite California’s Illinois Brick repealer statute “afford[ing] standing more liberally than does

federal law[,] . . . [a]ntitrust standing is required under the Cartwright Act”). And the Seventh

Circuit has expressly rejected plaintiffs’ argument that any state with an Illinois Brick repealer

would not follow AGC. Supreme Auto Transp., LLC v. Arcelor Mittal USA, Inc., 902 F.3d 735,

743-44 (7th Cir. 2018). There, the plaintiffs brought claims under the antitrust laws of nearly

two dozen states and argued, as plaintiffs do here, that Illinois Brick repealer laws implicitly

reject AGC’s direct injury standing requirement. The court refused to “read these state laws so

expansively,” noting that “[i]t is one thing to say that a state is willing to allow someone other

than a direct purchaser to have the opportunity to shoulder the burden of showing proximate

causation; it is quite another thing to say that the state has thrown both the direct-purchaser rule

and proximate causation out the window.” Id. at 744.10

        Plaintiffs’ state-law citations do not refute that AGC applies equally under state law. For

California, plaintiffs rely on Korea Supply Co. v. Lockheed Martin Corp., 29 Cal. 4th 1134 (Cal.



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  This Court should reject plaintiffs’ invitation to disregard decisions from lower state courts,
federal court decisions, and harmonization laws on whether AGC should apply to state claims.
(Opp. at 31.) Courts routinely rely on these sources, particularly when a state’s highest court has
not yet addressed the issue. See Schwab, 22 F.4th at 120-21 (acknowledging conflicting federal
precedent and analyzing intermediate state appellate court decisions and legislative intent
regarding harmonization); In re Lithium Ion Batteries Antitrust Litig., No. 13-MD-2420 YGR,
2014 WL 4955377, at *8 (N.D. Cal. Oct. 2, 2014) (“Where the state high court has not so
decided, however, the matter becomes more difficult . . . . In performing this task, the Court
should consider the available reliable evidence, which may include ‘intermediate appellate court
decisions, decisions from other jurisdictions, statutes, treatises, and restatements.’” (citations
omitted)). Indeed, plaintiffs themselves invite this Court to consider authorities beyond a state’s
highest court; their Appendix 1 relies heavily on them. Significantly, most of the state supreme
and intermediate appellate court decisions on which plaintiffs rely merely uphold the right of
indirect purchasers to bring suit and do not address AGC or other factors for determining
antitrust standing. See, e.g., In re S.D. Microsoft Antitrust Litig., 657 N.W.2d 668, 679 (S.D.
2003); Elkins v. Microsoft Corp., 817 A.2d 9, 17 (Vt. 2002); Arthur v. Microsoft Corp., 676
N.W.2d 29, 38 (Neb. 2004); Romero v. Philip Morris Inc., 109 P.3d 768, 770 (N.M. Ct. App.
2005); Howe v. Microsoft Corp., 656 N.W.2d 285, 298 (N.D. 2003).

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2003). (ECF No. 156-1 at 2.) But Korea Supply was not an antitrust case, nor did the majority

opinion reject AGC but instead advocated an AGC-like remoteness standard for tortious

interference claims. 29 Cal. 4th at 1185-86.

       Plaintiffs also misread Lorix v. Crompton Corp. to claim that Minnesota law excludes

AGC. 736 N.W.2d 619 (Minn. 2007). While the court in Lorix declined to apply some of the

AGC factors to Minnesota antitrust claims, the court recognized (much like the Supreme Court

did in AGC) that “[s]tanding under Minnesota antitrust law must be defined by some prudential

limits informed by foreseeability, proximate cause, remoteness, and relation of the injury to the

purposes of the antitrust law; otherwise, almost any antitrust violation would provide almost any

citizen with a cause of action arising from the resulting ripples of harm throughout the state’s

economy.” Id. at 630-31.

       In short, the weight of authority, collected in defendants’ Appendix B (ECF No. 129-2),

correctly holds that AGC applies to plaintiffs’ state antitrust claims. For this reason, those state

law claims should be dismissed in their entirety.

               2.      Plaintiffs Lack Article III Standing Under Various State Laws

       Many of the named plaintiffs lack standing under various state laws, and plaintiffs’

argument that the Court should defer a standing analysis until class certification is incorrect. As

defendants demonstrated (Br. at 39), “[p]rior to class certification, the named plaintiffs’ failure to

maintain a live case or controversy is fatal to the case as a whole.” Thomas v. Metro. Life Ins.

Co., 631 F.3d 1153, 1159 (10th Cir. 2011). Plaintiffs themselves acknowledge that the general

rule requires that standing be established by every plaintiff as to every cause of action at the

outset of the case. (Opp. at 41.)

       Plaintiffs wrongly argue that the general rule should not apply in this case and that

defendants’ standing arguments should await class certification because the “logical antecedent
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exception” first recognized in Amchem Products, Inc. v. Windsor, 521 U.S. 591, 612-13 (1997),

should apply. But that is a “limited exception applicable only when a case’s class action nature

creates the standing question,” as, for instance, when there is a question as to whether a named

plaintiff has standing to “assert the rights of absent class members.” Woodard v. Fid. Nat’l Title

Ins. Co., No. CIV 06-1170 RB/WDS, 2007 WL 5173415, at *3 (D.N.M. Dec. 4, 2007). It does

not apply to the question of whether “a named plaintiff meets individual standing requirements.”

Id. Individual named plaintiffs must establish their standing to bring their own claims at the

outset of the case. See, e.g., In re Refrigerant Compressors Antitrust Litig., No. 2:09-md-02042,

2012 WL 2917365, at *5 (E.D. Mich. July 17, 2012) (“In cases such as the instant case, where

the putative plaintiffs’ injury is in doubt, Article III standing issues should be resolved in the first

instance.” (quoting In re Packaged Ice Antitrust Litig., 779 F. Supp. 2d 642, 656 (E.D. Mich.

2011))). Several cases on which plaintiffs rely (Opp. at 42 n.25) confirm these principles. See,

e.g., Abraham v. WPX Prods., LLC, 184 F. Supp. 3d 1150, 1200 (D.N.M. 2016) (“The Court

agrees with the Defendants that named plaintiffs must have standing and that the Court should

analyze that issue before certifying a class.”); Langan v. Johnson & Johnson Consumer Cos.,

897 F.3d 88, 92-93 (2d Cir. 2018) (analyzing whether plaintiff had standing to bring a class

action on behalf of unnamed, yet-to-be-identified class members from other states under those

states’ consumer protection laws); Melendres v. Arpaio, 784 F.3d 1254, 1262 (9th Cir. 2015)

(“In the present case, Defendants do not dispute that the individually named plaintiffs . . . had

individual standing to bring their own claims.”); In re Zantac (Ranitidine) Prods. Liab. Litig.,

No. 21-10335, 2022 WL 16729170, at *6 (11th Cir. Nov. 7, 2022) (analyzing plaintiff’s standing

to bring claims on behalf of class members who purchased in other states).

        Several plaintiffs cannot make this showing. Defendants demonstrated that plaintiffs



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who made purchases for business or commercial purposes under various consumer protection

statutes and plaintiffs who assert Nevada consumer protection claims and are not elderly lack

standing to pursue claims under those statutes. (Br. at 43-45, 50.) And plaintiffs concede that no

named plaintiff has standing to bring a claim under West Virginia law. (Opp. at 42.) The logical

antecedent exception simply does not apply to the question of the named plaintiffs’ individual

standing to assert their claims. See Thomas, 631 F.3d at 1159 (holding that named plaintiffs’

lack of standing is fatal to the case).

        C.      State Bars on Indirect Purchaser Actions Apply to Plaintiffs’ Claims

                1.      Indirect Purchaser Claims Are Barred in Part
                        In New Jersey and Colorado (Counts 8 and 36)

        Plaintiffs do not dispute that the statutory amendments in Colorado and New Jersey

repealing Illinois Brick do not apply retroactively. (Opp. at 46.) Courts routinely dismiss claims

that predate the effective date of state antitrust statutes. See, e.g., In re Effexor Antitrust Litig.,

357 F. Supp. 3d 363, 393 (D.N.J. 2018) (dismissing claims that arose before enactment of Rhode

Island’s Illinois Brick repealer statute); In re Vitamins Antitrust Litig., No. MISC 99-197 (TFH),

2000 WL 1475705, at *15 (D.D.C. May 9, 2000) (dismissing claims for damages for indirect

purchases that predated Donnelly Act amendment permitting indirect purchaser actions). The

decision in In re Hard Disk Drive Suspension Assemblies Antitrust Litigation, No. 19-md-02918-

MMC, 2021 WL 4306018 (N.D. Cal. Sept. 22, 2021), on which plaintiffs rely (Opp. at 46), is

inapplicable because the defendants in that case, unlike defendants here, sought dismissal of

claims for conduct that occurred after the effective date of the relevant statute. Here, this Court

should dismiss plaintiffs’ Colorado and New Jersey antitrust claims to the extent they seek

recovery for conduct before June 7, 2023, and August 5, 2022, respectively. (Br. at 40-41.)




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               2.      State Class Action Bars Apply in
                       Federal Court (Counts 15, 16, 29, and 47)

       Contrary to plaintiffs’ arguments, class action bars in Illinois, Montana, and South

Carolina preclude plaintiffs from bringing antitrust or consumer class action suits under the laws

of those states. Those state class action bars are substantive and thus enforceable in federal court

because they are “so intertwined with a state right or remedy that [they] function[] to define the

scope of the state-created right.” Shady Grove Orthopedic Assocs., P.A. v. Allstate Ins. Co., 559

U.S. 393, 423 (2010) (Stevens, J., concurring); see also In re Digit. Music Antitrust Litig., 812 F.

Supp. 2d 390, 416 (S.D.N.Y. 2011) (applying indirect purchaser class action bar in federal court

and dismissing indirect purchaser plaintiffs’ claims under Illinois law); In re Opana ER Antitrust

Litig., 162 F. Supp. 3d 704, 723 (N.D. Ill. 2016) (same); In re Generic Pharms. Pricing Antitrust

Litig., 368 F. Supp. 3d 814, 844 (E.D. Pa. 2019) (holding that plaintiffs could not pursue South

Carolina and Montana consumer protection claims because statutory class action bars were a

“substantive policy choice” that precluded plaintiffs from bringing class claims).

       D.      Plaintiffs’ State Law Claims Fail for Additional Reasons

       Plaintiffs concede that the Maryland Consumer Protection Act does not apply to their

claims. (Opp. at 48.) Plaintiffs’ state law claims fail for the additional reasons set forth in

Appendix E accompanying this memorandum.

                                          CONCLUSION

       For all the foregoing reasons, defendants respectfully request that this Court dismiss

plaintiffs’ complaint in its entirety with prejudice.




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Dated: May 12, 2025                          Respectfully submitted,

                                             /s/ Boris Bershteyn
                                             Boris Bershteyn
                                             Karen M. Lent
                                             Michael H. Menitove
                                             Zachary C. Siegler
                                             SKADDEN, ARPS, SLATE,
                                               MEAGHER & FLOM LLP
                                             One Manhattan West
                                             New York, New York 10001-8602
                                             Telephone: (212) 735-3000
                                             boris.bershteyn@skadden.com
                                             karen.lent@skadden.com
                                             michael.menitove@skadden.com
                                             zachary.siegler@skadden.com

                                             Kenneth A. Gallo
                                             PAUL, WEISS, RIFKIND,
                                              WHARTON & GARRISON LLP
                                             2001 K Street, NW
                                             Washington, DC 20006-1047
                                             Telephone: (202) 223-7300
                                             kgallo@paulweiss.com

                                             William B. Michael
                                             PAUL, WEISS, RIFKIND,
                                              WHARTON & GARRISON LLP
                                             1285 Avenue of the Americas
                                             New York, NY 10019-6064
                                             Telephone: (212) 373-3000
                                             wmichael@paulweiss.com

                                             Samuel G. Liversidge
                                             Jay P. Srinivasan
                                             S. Christopher Whittaker
                                             GIBSON, DUNN & CRUTCHER
                                                 LLP
                                             333 South Grand Avenue
                                             Los Angeles, CA 90071-3197
                                             Telephone: (213) 229-7000
                                             sliversidge@gibsondunn.com
                                             jsrinivasan@gibsondunn.com
                                             cwhittaker@gibsondunn.com




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                                           Eric R. Burris
                                           BROWNSTEIN HYATT
                                            FARBER SCHRECK, LLP
                                           201 Third Street NW, Suite 1800
                                           Albuquerque, NM 87102-4386
                                           Telephone: (505) 244-0770
                                           eburris@bhfs.com

                                           Attorneys for Defendant
                                           Pioneer Natural Resources Company


                                           By: /s/ John M. Taladay
                                           John M. Taladay
                                           Christopher Wilson
                                           Kelsey Paine
                                           Megan Tankel
                                           Fran Jennings
                                           BAKER BOTTS L.L.P.
                                           700 K Street NW
                                           Washington, D.C. 20001-5692
                                           Tel: (202) 639-7909
                                           john.taladay@bakerbotts.com
                                           christopher.wilson@bakerbotts.com
                                           kelsey.paine@bakerbotts.com
                                           megan.tankel@bakerbotts.com
                                           fran.jennings@bakerbotts.com

                                           Benjamin F. Feuchter
                                           Thomas C. Bird
                                           JENNINGS HAUG KELEHER
                                               MCLEOD
                                           201 Third Street NW, Suite 1200
                                           Albuquerque, NM 87102
                                           Tel: (505) 346-4646
                                           bf@jhkmlaw.com
                                           tcb@jhkmlaw.com

                                           Attorneys for Defendant
                                           EOG Resources, Inc.


                                           By: /s/ Jeffrey L. Kessler
                                           Jeffrey L. Kessler
                                           Jeffrey J. Amato
                                           WINSTON & STRAWN LLP

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                                           200 Park Avenue
                                           New York, NY 10166
                                           Tel: (212) 294-6700
                                           jkessler@winston.com
                                           jamato@winston.com

                                           Thomas M. Melsheimer
                                           Thomas B. Walsh, IV
                                           WINSTON & STRAWN LLP
                                           2121 N. Pearl Street, Suite 900
                                           Dallas, TX 75201
                                           Tel: (212) 294-6700
                                           tmelsheimer@winston.com
                                           twalsh@winston.com

                                           Benjamin Allison
                                           Billy Trabaudo
                                           BARDACKE ALLISON MILLER
                                             LLP
                                           P.O. Box 1808
                                           141 E. Palace Avenue
                                           Santa Fe, NM 87501
                                           Tel: (505) 995-8000
                                           ben@bardackeallison.com
                                           billy@bardackeallison.com

                                           Attorneys for Defendant
                                           Diamondback Energy, Inc.

                                           By: /s/ Marguerite M. Sullivan
                                           Marguerite M. Sullivan
                                           LATHAM & WATKINS LLP
                                           555 Eleventh Street, N.W., Suite 1000
                                           Washington, D.C. 20004
                                           Tel: (202) 637-2200
                                           Marguerite.Sullivan@lw.com

                                           Lawrence E. Buterman
                                           LATHAM & WATKINS LLP
                                           1271 Avenue of the Americas
                                           New York, NY 10020
                                           Tel: (212) 906-1200
                                           Lawrence.Buterman@lw.com

                                           Attorneys for Defendant
                                           Expand Energy Corporation

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                                           (F/K/A Chesapeake Energy
                                           Corporation)


                                           By: /s/ Kevin S. Schwartz
                                           Kevin S. Schwartz
                                           David A. Papirnik
                                           WACHTELL, LIPTON, ROSEN &
                                            KATZ
                                           51 West 52nd Street
                                           New York, NY 10019
                                           Tel: (212) 403-1062
                                           kschwartz@wlrk.com

                                           Benjamin E. Thomas
                                           RODEY, DICKASON, SLOAN,
                                             AKIN & ROBB, P.A.
                                           201 3rd Street NW, Suite 2200
                                           Albuquerque, New Mexico 87102
                                           Tel: (505) 765-5900
                                           bthomas@rodey.com

                                           Attorneys for Defendants
                                           Hess Corporation and John Hess


                                           By: /s/ Jeffrey J. Zeiger
                                           Jeffrey J. Zeiger
                                           KIRKLAND & ELLIS LLP
                                           333 West Wolf Point Plaza
                                           Chicago, IL 60654
                                           Tel: 312-862-3237
                                           jzeiger@kirkland.com

                                           Devora W. Allon
                                           KIRKLAND & ELLIS LLP
                                           601 Lexington Avenue
                                           New York, NY 10022
                                           Tel: 212-446-5967
                                           devora.allon@kirkland.com

                                           Earl E. DeBrine, Jr.
                                           MODRALL SPERLING
                                           500 4th St. NW, Suite 1000
                                           Albuquerque, NM 87102
                                           Tel: (505) 848-1800

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                                           earl.debrine@modrall.com

                                           Attorneys for Defendant
                                           Occidental Petroleum Corporation


                                           By: /s/ Christopher E. Ondeck
                                           Christopher E. Ondeck
                                           Stephen R. Chuk
                                           PROSKAUER ROSE LLP
                                           1001 Pennsylvania Avenue NW
                                           Suite 600 South
                                           Washington, DC 20004
                                           Tel: (202) 416-6800
                                           Fax: (202) 416-6899
                                           condeck@proskauer.com
                                           schuk@proskauer.com

                                           Kyle A. Casazza
                                           PROSKAUER ROSE LLP
                                           2029 Century Park East, Suite 2400
                                           Los Angeles, CA 90067-3010
                                           Tel: (310) 284-5677
                                           kcasazza@proskauer.com

                                           Jared DuBosar
                                           PROSKAUER ROSE LLP
                                           2255 Glades Road, Suite 421 Atrium
                                           Boca Raton, FL 33431
                                           Telephone: (561) 995-4702
                                           jdubosar@proskauer.com

                                           Hannah Silverman
                                           Henrique Carneiro
                                           PROSKAUER ROSE LLP
                                           Eleven Times Square
                                           New York, NY 10036
                                           Telephone: (212) 969-3193
                                           Facsimile: (212) 969-2900
                                           hsilverman@proskauer.com
                                           hcarneiro@proskauer.com

                                           Michael Burrage
                                           WHITTEN BURRAGE
                                           512 North Broadway Avenue, Ste 300
                                           Oklahoma City, OK 73102

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                                           Tel: (888) 783-0351
                                           mburrage@whittenburragelaw.com

                                           H. Brook Laskey
                                           MCCOY LEAVITT LASKEY LLC
                                           317 Commercial St. NE, Suite 200
                                           Albuquerque, NM 87102
                                           Telephone: (505) 246-0455
                                           blaskey@MLLlaw.com

                                           Attorneys for Defendant
                                           Continental Resources, Inc.


                                           By: /s/ Michael W. Scarborough
                                           Michael W. Scarborough
                                           Dylan I. Ballard
                                           VINSON & ELKINS LLP
                                           555 Mission Street, Suite 2000
                                           San Francisco, CA 94105
                                           Tel: (415) 979–6900
                                           mscarborough@velaw.com
                                           dballard@velaw.com

                                           Craig P. Seebald
                                           Stephen M. Medlock
                                           VINSON & ELKINS LLP
                                           2200 Pennsylvania Avenue NW, Suite
                                           500 West
                                           Washington, DC 20037
                                           Tel: (202) 639-6500
                                           cseebald@velaw.com
                                           smedlock@velaw.com

                                           Attorneys for Defendant
                                           Permian Resources Corporation

                                           By: /s/ David I. Gelfand
                                           David I. Gelfand
                                           Jeremy J. Calsyn
                                           Joseph M. Kay
                                           CLEARY GOTTLIEB STEEN &
                                             HAMILTON LLP
                                           2112 Pennsylvania Avenue NW
                                           Ste 1000



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                                           Washington, DC 20037
                                           Tel: (202) 974-1690
                                           dgelfand@cgsh.com
                                           jcalsyn@cgsh.com
                                           jkay@cgsh.com


                                           Kurt A. Sommer
                                           SOMMER, UDALL, SUTIN,
                                            HARDWICK & HYATT, PA
                                           PO Box 1984
                                           Santa Fe, NM 87504
                                           Tel: (505) 982-4676
                                           kas@sommerudall.com
                                           Attorneys for Defendant
                                           Scott D. Sheffield




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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on May 12, 2025, a true and correct copy of Defendants’

Reply Memorandum of Law in Support of Their Joint Motion to Dismiss was filed electronically

pursuant to CM/ECF procedure for the District of New Mexico, which caused the parties to be

served via electronic means.


Dated: May 12, 2025

                                     Respectfully submitted,

                                     SKADDEN, ARPS, SLATE, MEAGHER & FLOM LLP

                                    By: /s/ Boris Bershteyn
                                         Boris Bershteyn
                                         Karen M. Lent
                                         Michael H. Menitove
                                         Zachary C. Siegler
                                         SKADDEN, ARPS, SLATE,
                                            MEAGHER & FLOM LLP
                                         One Manhattan West
                                         New York, New York 10001-8602
                                         Telephone: (212) 735-3000
                                         boris.bershteyn@skadden.com
                                         karen.lent@skadden.com
                                         michael.menitove@skadden.com
                                         zachary.siegler@skadden.com

                                          Kenneth A. Gallo
                                          PAUL, WEISS, RIFKIND,
                                           WHARTON & GARRISON LLP
                                          2001 K Street, NW
                                          Washington, DC 20006-1047
                                          Telephone: (202) 223-7300
                                          kgallo@paulweiss.com

                                          William B. Michael
                                          PAUL, WEISS, RIFKIND,
                                           WHARTON & GARRISON LLP
                                          1285 Avenue of the Americas
                                          New York, NY 10019-6064
                                          Telephone: (212) 373-3000

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                               wmichael@paulweiss.com

                               Samuel G. Liversidge
                               Jay P. Srinivasan
                               S. Christopher Whittaker
                               GIBSON, DUNN & CRUTCHER LLP
                               333 South Grand Avenue
                               Los Angeles, CA 90071-3197
                               Telephone: (213) 229-7000
                               sliversidge@gibsondunn.com
                               jsrinivasan@gibsondunn.com
                               cwhittaker@gibsondunn.com

                               Eric R. Burris
                               BROWNSTEIN HYATT FARBER SCHRECK, LLP
                               201 Third Street NW, Suite 1800
                               Albuquerque, NM 87102-4386
                               Telephone: (505) 244-0770
                               eburris@bhfs.com

                               Attorneys for Defendant
                               Pioneer Natural Resources Company




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